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                                  4                           IN THE UNITED STATES DISTRICT COURT

                                  5                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  7      PARAG AGRAWAL, et al.,                        Case No. 24-cv-01304-MMC
                                                       Plaintiffs,
                                  8
                                                                                       ORDER DENYING AS MOOT
                                                  v.                                   PLAINTIFFS' MOTION TO OPEN
                                  9
                                                                                       DISCOVERY
                                  10     ELON MUSK, et al.,
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is plaintiffs' Motion to Open Discovery, filed October 10, 2024.

                                  14   Defendants have filed opposition, to which plaintiffs have replied.

                                  15          At the Initial Case Management Conference, conducted June 14, 2024, the Court

                                  16   stayed discovery pending resolution of defendants' motion to dismiss plaintiffs' Fifth

                                  17   Cause of Action. By order filed concurrently herewith, the Court has denied the motion to

                                  18   dismiss, and, consequently, the discovery stay is no longer in place.

                                  19          Accordingly, plaintiffs' motion to open discovery is hereby DENIED as moot.1

                                  20          IT IS SO ORDERED.

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                                  22   Dated: November 1, 2024
                                                                                               MAXINE M. CHESNEY
                                  23                                                           United States District Judge
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                                            In light of said ruling, the hearing scheduled for November 15, 2024, is hereby
                                  28   VACATED.
